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                                                  IN THE UNITED STATES DISTRICT COURT

                                                    FOR THE EASTERN DISTRICT OF TEXAS

                                                                                TYLER DIVISION



 UNITED STATES OF AMERICA                                                                         §

 v.                                                                                               §                CRIMINAL ACTION NO. 6:09cr18

 ERIC FERNANDO REYES                                                                              §



                                                       ORDER ADOPTING REPORT AND
                                                    RECOMMENDATION OF UNITED STATES
                                                           MAGISTRATE JUDGE


                The Report and Recommendation of the Magistrate Judge, which contains her findings,

 conclusions, and recommendation for the disposition of ancillary forfeiture proceedings, has been

 presented for consideration. The Report and Recommendation recommends that the Government’s

 Motion in Response to Ancillary Petitions of Victor Dominguez and D-1 Capital, LP (document

 #220) be granted. No written objections have been filed to the Report and Recommendation.

 Therefore, the findings and conclusions of the Magistrate Judge are hereby adopted as those of the

 Court.

                In light of the foregoing, it is

                ORDERED that the Government’s Motion in Response to Ancillary Petitions of Victor

 Dominguez and D-1 Capital, LP (document #220) is GRANTED. It is further

                ORDERED that the 2001 black Kaufman AC trailer, VIN 15XFW50331L000535, License

 Plate 87ZYKC is dismissed from the previously entered Preliminary Order of Forfeiture. It is finally



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                ORDERED that the U.S. Marshal shall release the Kaufman trailer to the registered owner,

 Victor Dominguez.

                  So ORDERED and SIGNED this 1st day of February, 2010.




                                                                __________________________________
                                                                LEONARD DAVIS
                                                                UNITED STATES DISTRICT JUDGE




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